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                                        BROKERAGES



                                        Compass 'has not
                                        and will not adhere'
                                        to Clear
                                        Cooperation
                                        In an email to MLS and NAR leaders, CEO
                                        Robert Reffkin says the brokerage is not
                                        bound by the CCP and will not ask its agents
                                        to comply with the policy.

                                        •      Dave Gallagher

                                        July 2, 2025    0   3 mins                X   in   f   k    <1'                 Illustration by Real Estate News/Shutterstock, Compass




                                            Key points:
                                             • Reffkin's July 1 letter formalized Compass' "vocal and active" opposition to the CCP, similar to
                                               Howard Hanna's rebuke of the policy in May.
                                             • "Compass will continue to determine on a market-by-market basis whether to require its listing
                                               brokers to submit listings on a multiple listing service within any specific timeframe," Reffkin wrote.
                                             • The brokerage leader also warned of the legal risk of maintaining the CCP, including the possibility of
                                               future class-action lawsuits.



                                        Compass has formalized its opposition to the Clear Cooperation Policy, turning up the heat in the ongoing battle
                                        over how and when homes should be listed on the MLS.

                                        In a July 1 email to MLS and National Association of Realtors leaders, Compass CEO Robert Reffkin did not mince
                                        words, informing the organizations that the brokerage "has never agreed to or with CCP" — and will not ask its
                                        agents to follow the policy.

                                        What Reffkin had to say: "Compass does not consider the Clear Cooperation Policy or any national NAR MLS rule
                                        impacting clients as binding and, accordingly, has not and will not adhere to CCP or any national NAR MLS rule
                                        impacting clients as a matter of course," Reffkin wrote in the email shared with Real Estate News.

                                        He noted that the brokerage "has been a vocal and active opponent" of the policy since its inception and was
                                        among the companies and real estate leaders that asked NAR's Emerging Issues Committee to eliminate the CCP
                                        when the group met last fall.

                                        How Compass plans to operate: The brokerage is forging its own path, Reffkin said. "Compass will continue to
                                        determine on a market-by-market basis whether to require its listing brokers to submit listings on a multiple listing
                                        service within any specific timeframe. These decisions are made based solely on Compass's own business
                                        interests, independent of NAR and any other brokerage," he wrote.

                                        Following Hanna's lead: Reffkin's email echoes statements made by Howard Hanna Real Estate CEO Hoby Hanna,
                                        who, as first reported by Inman, sent a similar email to MLSs and NAR in May. In the letter, Hanna indicated that
                                        the brokerage no longer considered itself bound to the CCP and believed the policy deters innovation in the
                                        industry.

                                        'Putting a fine point' on its existing approach: Compass is not expecting any big changes for agents at this time,
                                        Ashton Alexander, senior vice president at the brokerage, told Real Estate News.

                                        "What we're doing in sending this letter is putting a fine point on something that was already the case," said
                                        Alexander, emphasizing that the company is simply clarifying that its agents don't have to follow a policy that she
                                        said restricts how they work with their clients. "We wanted to make it clear, in writing, and codified that we do not
                                        require our agents to comply with CCP at a national level."

                                        Months of turmoil: The letter comes at a time when the CCP is under attack on several fronts. On July 1,
                                        ThePLS.com —a pocket listing service co-founded by The Agency CEO Mauricio Umansky — reopened a federal
                                        antitrust lawsuit against NAR, alleging that the trade association's policy is anticompetitive and forced the
                                        company out of the marketplace.

                                        Compass has also been actively pushing back against rules prohibiting private listings and pre-marketing homes,
                                        recently taking its fight to the courts. Earlier this year, the brokerage filed separate lawsuits against Zillow and the
                                        Northwest Multiple Listing Service, alleging anticompetitive policies.

                                        A risk to the industry: In his letter, Reffkin reiterated concerns about the potential legal implications of
                                        maintaining Clear Cooperation, warning that it could lead to another round of lawsuits.
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              "In the coming years, the risk is significant that the industry could face class actions that are distinct from the
                         currently pending compensation-focused cases, with the potential for a significant amount of damages," Reffkin
                         said.

                         Since it was passed in 2019, Clear Cooperation — which requires Realtor-affiliated MLSs to publish listings within
                         one business day of the property being publicly marketed — has been controversial, and the debate has only
                        intensified in the past year.




                         Write to Dave Gallagher.




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                        telemarketing suit is dropped                       hiring of Altos Research's Mike                    successful brokerage strategy
                        A lawsuit filed last month had accused              Simonsen                                           Feeling stuck? It might be time to
                        the brokerage of violating the Telephone            Simonsen, whose data company was                   simplify your approach, reassess
                        Consumer Protection Act — a claim                    bought by HW Media in 2022, will be the           priorities and ensure your team is on
                        Keller Williams has faced more than                  brokerage's first chief economist after           board — and capable of getting the lob
                        once.                                                getting "a very compelling offer" from its        done.
                                                                            CEO.
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